Case 1:22-cv-01129-NYW-SKC Document 53-5 Filed 09/22/22 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 5
            Case 1:22-cv-01129-NYW-SKC Document 53-5 Filed 09/22/22 USDC Colorado Page 2 of 2
 Printed: 9/21/2022 11:28:53AM
 By: kmeyer
                                             Douglas County Sheriff's Office - Civil Division
                                                                     Civil Process Affidavit
Sheriff #       22001363                                          Court of Origin:     United States District Court
Docket #        1:22-CV-01129-WJM                                 Papers Served:       SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
                                                                                       ACTION, EXHIBIT A TO SUBPOENA

ERIC COOMER
Plaintiff
 vs.
MICHAEL J LINDELL FRANKSPEECH LLC AND MY PILLOW INC
Defendant

I certify that I have served this process on: JOSEPH THOMAS OLTMANN
Service Type:          Cancelled                                                       Service Status:   Cancelled

 MICHAEL LINDELL
 Name of Defendant                                                                               Sex            Race                     DOB


 Address of Defendant

8245 KEITH CT Castle Rock CO 80108
Address of Service

Fees:
            Mileage - Civil                                                    6.00
            NFR-Civil                                                         20.00
            Refund(s)                                                         20.00
            Total Fees:                                                       46.00
            Deposit(s):                                                       46.00
            Balance Due:                                                        0.00



Tony Spurlock, Sheriff                          By:                                                                    KIMBERLY DIANE TRUE 0613
                                                                          Deputy's Signature                            Deputy's Name and Badge #

Attempted, this 14 day of September, 2022 at 2:00 pm
The Named Defendant was NOT served because:


Attempted, this 15 day of September, 2022 at 10:54 am
The Named Defendant was NOT served because:


Attempted, this 20 day of September, 2022 at 8:38 am
The Named Defendant was NOT served because:


Cancelled, this 20 day of September, 2022 at 1:54 pm
The Named Defendant was NOT served because:
CANCEL PER SCOTTIE WITH THE ATTORNEY OFFICE CONTACTED OFFICE REQUESTING TO CX




State of Colorado
County of Douglas
The foregoing instrument was acknowledged before me this September 21, 2022 by


_____________________________________________
                   Deputy's signature & OSN

_____________________________________________
                          Notary Signature                                                        Notary Seal

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